               Case 17-16003-ref                        Doc 12             Filed 09/19/17 Entered 09/19/17 11:13:57                                              Desc Main
                                                                           Document      Page 1 of 43
 Fill in this information to identify your case:

 Debtor 1                   David J. Angstadt
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             138,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              39,480.17

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             177,480.17

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $              75,784.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                1,816.43

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              11,048.56


                                                                                                                                     Your total liabilities $                 88,648.99


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                3,009.50

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                1,652.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      David J. Angstadt                                                          Case number (if known) 17-16003

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $            1,585.84


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              1,816.43

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 1,816.43




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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               Case 17-16003-ref                              Doc 12            Filed 09/19/17 Entered 09/19/17 11:13:57                                    Desc Main
                                                                                Document      Page 3 of 43
 Fill in this information to identify your case and this filing:

 Debtor 1                    David J. Angstadt
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      EASTERN DISTRICT OF PENNSYLVANIA

 Case number            17-16003                                                                                                                                 Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                                     12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        1436 Phillip Avenue                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the       Current value of the
        Birdsboro                         PA        19508-0000                         Land                                       entire property?           portion you own?
        City                              State              ZIP Code                  Investment property                               $138,000.00                $138,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Berks                                                                          Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Joint with deceased mother, Marian J. Angstadt, who passed away in
                                                                                2013


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $138,000.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
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 Debtor 1        David J. Angstadt                                                                              Case number (if known)    17-16003
3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Audi                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      A4                                              Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2000                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 167000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $1,171.00                   $1,171.00
                                                                     (see instructions)



  3.2    Make:       Kawasaki                                  Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      VN800-A7 Vulcan                                 Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                   22000                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                        $1,555.00                   $1,555.00
                                                                     (see instructions)



  3.3    Make:       Yamaha                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      850 Special                                     Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1980                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                   28131                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)



  3.4    Make:       Jaguar                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      XJS6                                            Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1983                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 135000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                          $500.00                     $500.00
                                                                     (see instructions)



  3.5    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      F150 Long Bed                                   Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1996                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 240000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         Custom paint (black/neon
         green), custom interrior, stereo                            Check if this is community property                        $1,822.00                   $1,822.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 2
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 Debtor 1        David J. Angstadt                                                                              Case number (if known)    17-16003

  3.6    Make:     Dodge                                       Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                   Dakota Extended Cab,                                                                                the amount of any secured claims on Schedule D:
         Model:    Short Bed                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:     1999                                              Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:     170000                             Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
        no reverse, rotten bed
                                                                     Check if this is community property                          $600.00                     $600.00
                                                                     (see instructions)



  3.7    Make:       Isuzu                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Trooper                                         Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1999                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 160000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
        *Vehicle paid for but title not yet
        transferred into Debtor's name*                              Check if this is community property                          $600.00                     $600.00
                                                                     (see instructions)



  3.8    Make:       Honda                                     Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Civic                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 182000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
        needs a new transmission
                                                                     Check if this is community property                        $1,200.00                   $1,200.00
                                                                     (see instructions)



  3.9    Make:       Nissan                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Altima                                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2003                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                 145000                 Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
        parts car, totaled in accident,
        needs exhaust                                                Check if this is community property                        $1,000.00                   $1,000.00
                                                                     (see instructions)


  3.1
  0      Make:       Toyota                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Camry                                           Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2013                                            Debtor 2 only                                     Current value of the     Current value of the
         Approximate mileage:                   31500                Debtor 1 and Debtor 2 only                        entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
        front end damage needs
        $3,000.00 in repairs.                                        Check if this is community property                        $7,500.00                   $7,500.00
        KBB $13,184.00 in good                                       (see instructions)

        condition - $3,000.00 =
        $10,184.00 - current condition
        =$7,500.00 value
        Dents on doors, involved in
        multiple accidents, not
        driveable




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 3
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 Debtor 1        David J. Angstadt                                                                                  Case number (if known)       17-16003
  3.1
  1      Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Explorer                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                 180480                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         *Vehicle paid for but title not yet
         transferred into Debtor's name*                             Check if this is community property                                  $500.00                    $500.00
         blown motor                                                 (see instructions)


  3.1
  2      Make:       Ford                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Ranger                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                 121000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         *Vehicle paid for but title not yet
         transferred into Debtor's name*                             Check if this is community property                                $2,500.00                  $2,500.00
         involved in an accident, needs                              (see instructions)

         repairs

  3.1
  3      Make:     Chevy                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                   drag racecar/power                                                                                         the amount of any secured claims on Schedule D:
         Model:    glide                                             Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     1996                                              Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:   200passes                            Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $6,000.00                  $6,000.00
                                                                     (see instructions)


  3.1
  4      Make:     Chevrolet                                   Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:    Cheyenne C1500                                    Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:     1989                                              Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:    123000                              Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         broken exhaust pipe, fuel pump
         needs replaced, chipped paint                               Check if this is community property                                  $700.00                    $700.00
                                                                     (see instructions)


  3.1
  5      Make:       Audi                                      Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      A4                                              Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2001                                            Debtor 2 only                                            Current value of the     Current value of the
         Approximate mileage:                 399000                 Debtor 1 and Debtor 2 only                               entire property?         portion you own?
         Other information:                                          At least one of the debtors and another
         parts car
                                                                     Check if this is community property                                  $500.00                    $500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $26,648.00

Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 4
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 Debtor 1       David J. Angstadt                                                                   Case number (if known)     17-16003


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                 Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living Room: couch, bookcase, recliners (2), end tables, coffee
                                    table, floor lamps (2), storage box, wooden rocking chair, wicker
                                    chest, milk bottle, flower stands (2), umbrella stand, shelf, coat
                                    rack, wooden filing cabinet

                                    Dining room: kitchen table with stone top, chairs (4), celing light,
                                    grandfather clock, storage cabinet, high backed decorative chair,
                                    serving cart

                                    Bedrooms: queen bed (2) twin bed, desk chair, tall dresser (3),
                                    short dressers, chest of drawers with mirror, desk - antique roll
                                    top, computer desk, full length mirrors (2), floor lamps (2),
                                    tabletop lamps (3), storage cabinet, nightstand with 2 drawers,
                                    wicker coffee table, half circle table , tall bookcase

                                    Kitchen: Microwave, side by side refrigerator, washing machine,
                                    dryer, stove, Dishes, cookware, wooden storage cabinet, toaster,
                                    toaster oven, coffee pot

                                    Other: vacuum cleaner, iron, ironing board, storage box, carpet
                                    cleaner                                                                                                        $499.75


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Computer, radio, TVs (21), Stereo sound bar, DVD Player (11),
                                    computer printer                                                                                               $232.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
        No
        Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

Official Form 106A/B                                                  Schedule A/B: Property                                                          page 5
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 Debtor 1       David J. Angstadt                                                              Case number (if known)   17-16003


                                    wearing apparel usual items not worth $300.00 aggregate in value
                                    of $4,000.00                                                                                        $4,000.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    bracelet                                                                                                $25.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    dog                                                                                                       $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....




Official Form 106A/B                                                  Schedule A/B: Property                                                 page 6
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 Debtor 1       David J. Angstadt                                                                 Case number (if known)   17-16003


                                    Tools of Trade:
                                    Craftsman metric set - 1/4 Drive Socket & Ratchet Sets & 3/8 drive
                                    socket & ratchet set & wrench set (2 each)
                                    Craftsman standard set - 1/4 Drive Socket & Ratchet Sets (2) & 3/8
                                    drive socket & ratchet set & wrench set (2 each)
                                    Large tool box
                                    Small tool box
                                    Vice grips - small (3), med (3), large (4)
                                    Hammers w/ claw (2)
                                    1' hacksaw
                                    Generic Utiltity Knife w/ Replaceable Blades (3)
                                    Flathead Screwdrivers (10)
                                    Philips Head Screwdrivers (12)
                                    4' Level
                                    6" Level
                                    Sm. Wood Clamps (2)
                                    Med. Wood Clamps (4)
                                    Lrg. Wood Clamps (4)
                                    X-Lrg. Wood Clamps (2)
                                    Large Metal Square
                                    Small Metal Square
                                    Sm. Monkey Wrench
                                    Lrg. Monkey Wrench
                                    3 Ton Jack Stands (Set of 2)
                                    Tin Snips (3)
                                    Sm. Pry Bar
                                    Med. Pry Bar (2)
                                    Lrg. Pry Bar
                                    Wire Cutters with Crimping Tool Built In (2)
                                    5lb. Slide Hammer Kit with Attachments
                                    3lb. Slide Hammer
                                    10 lb. Slide Hammer
                                    Various Sized Adjustable Wrenches (5)
                                    Various Sized Putty Knives (4)
                                    Paint Ratio Measuring Stick
                                    Respirators with Replaceable Filters (2)
                                    T-handle Hex & Standard drivers -Metric Set & Standard Set
                                    Chalk Line Reel
                                    1" C-Clamps (2)
                                    3" C-Clamps (2)
                                    6" C-Clamps (2)
                                    8" C-Clamps (2)
                                    12" C-Clamps (2)
                                    Needle Nose Pliers (2)
                                    Channel Lock Pliers (2)
                                    Standard Pliers (3)
                                    Cutting Pliers (2)
                                    Allen wrenches - Metric Set & Standard Set
                                    Line wrenche                                                                                           $1,658.50



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                $6,415.25


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                 Current value of the
                                                                                                                             portion you own?
                                                                                                                             Do not deduct secured
                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
Official Form 106A/B                                                  Schedule A/B: Property                                                    page 7
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 Debtor 1         David J. Angstadt                                                                                                 Case number (if known)   17-16003

        Yes................................................................................................................

                                                                                                                                       Cash on hand                            $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Diamond Federal Credit Union                                               $1,471.07



                                              17.2.       Savings                                 Diamond Federal Credit Union                                                     $5.00


                                                          Business Checking
                                              17.3.       Account           Diamond Federal Credit Union                                                                       $995.00


                                                          Business Savings
                                              17.4.       Account                                 Diamond Federal Credit Union                                                     $5.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


Official Form 106A/B                                                                       Schedule A/B: Property                                                                 page 8
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
             Case 17-16003-ref                      Doc 12            Filed 09/19/17 Entered 09/19/17 11:13:57                      Desc Main
                                                                     Document      Page 11 of 43
 Debtor 1       David J. Angstadt                                                                        Case number (if known)   17-16003
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                     Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                  Beneficiary:                         Surrender or refund
                                                                                                                                     value:

                                         Life Insurance parents took out against
                                         him when he was a child                                Mom/Dad                                           $1,000.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No

Official Form 106A/B                                                   Schedule A/B: Property                                                           page 9
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 Debtor 1        David J. Angstadt                                                                                               Case number (if known)        17-16003

        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................              $3,676.07


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.

       Yes. Go to line 38.


                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

38. Accounts receivable or commissions you already earned
     No
        Yes. Describe.....


                                        Leilani Sohoski, prior tenant owes past due rent $675.00 + $906.36
                                        for storage unit = $1,581.36                                                                                                           $1,581.36


                                        Uncompleted projects                                                                                                                     $450.00


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
        No
        Yes. Describe.....


40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
     No
        Yes. Describe.....




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 10
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 Debtor 1       David J. Angstadt                                                                       Case number (if known)   17-16003


                                    9x11 sheets of sandpaper (32), various grits 40-3000
                                    body filler, fibergalss, plastics includes hardener catalyst (2)
                                    sandpaper 5" round sandpaper, various grits 40-3000 (3
                                    boxes/rolls)
                                    6" sandpaper round, various grits 40-3000 (4 boxes/rolls)
                                    3" sandpaper round, various grits 40-3000 (3 sheets)
                                    Scotch-Brite sanding sheets, ultra fine- medium (4sheets)
                                    6" Round Cushioned sanding discs, 1500-3000 (2 discs)
                                    Scotch brite 2" round sanding rolocs grits, lir. fine- med. (3packs)
                                    8" wide masking paper (1 roll)
                                    Eastwood fast etch rust remover
                                    Prep-sol gallone, wax/gum remover to prep for painting
                                    Activator quart bottles of pain act., single stage, 2 stage, Lov voc
                                    ulethane, prem. show clear (4)
                                    reducer - gallon containers, LR12, JR5580, Urothane (3)
                                    Base Coats - Epoay, lerethane primer, paint quarts (2)
                                    Spot blender spray max
                                    Paints, single stage, 2 stage & clear coat paints
                                    Limco GTS of paints (2)
                                    Chroma GTS of paints (2)
                                    Eastwood GTS of paints
                                    Spray Paint, 12oz bottles, various colors (4)
                                    Rust-oleum(2)
                                    Krylon
                                    Rubbing compound, 3M
                                    Car polish, Maquiars auto polishes (3)
                                    car polish - ice auto polish                                                                                   $396.99


                                    paint filters (1box)
                                    Latex golves (1box)
                                    tack clothes
                                    Heavy Duty 0.4 stablizer tranmission treatment (2)
                                    Quacter state Oil, 10w-30
                                    Supertech ATF transmission fluid
                                    PB blaster lubricant
                                    DOT3 Brake Fluid (2)
                                    Power steering fluid, Superted (2)
                                    Welding gas, bottle of CO2 Gas, 60cf bottle, argon Gas
                                    7" or 8" round buffing pads (6 - 1 for each)                                                                   $312.50


41. Inventory
        No
        Yes. Describe.....


42. Interests in partnerships or joint ventures
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                       % of ownership:


43. Customer lists, mailing lists, or other compilations
      No.
      Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                 No
                 Yes. Describe.....


44. Any business-related property you did not already list
        No

Official Form 106A/B                                                   Schedule A/B: Property                                                         page 11
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 Debtor 1         David J. Angstadt                                                                                                     Case number (if known)   17-16003

        Yes. Give specific information.........



 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................                  $2,740.85

 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                          $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................                 $138,000.00
 56. Part 2: Total vehicles, line 5                                                                           $26,648.00
 57. Part 3: Total personal and household items, line 15                                                       $6,415.25
 58. Part 4: Total financial assets, line 36                                                                   $3,676.07
 59. Part 5: Total business-related property, line 45                                                          $2,740.85
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $39,480.17              Copy personal property total              $39,480.17

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                           $177,480.17




Official Form 106A/B                                                               Schedule A/B: Property                                                                              page 12
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                           Best Case Bankruptcy
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                                                                     Document      Page 15 of 43
 Fill in this information to identify your case:

 Debtor 1                 David J. Angstadt
                          First Name                        Middle Name                 Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                 Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      1436 Phillip Avenue Birdsboro, PA                              $138,000.00                               $23,675.00      11 U.S.C. § 522(d)(1)
      19508 Berks County
      Joint with deceased mother, Marian                                                   100% of fair market value, up to
      J. Angstadt, who passed away in                                                      any applicable statutory limit
      2013
      Line from Schedule A/B: 1.1

      2000 Audi A4 167000 miles                                        $1,171.00                                      $0.00    11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      2001 Kawasaki VN800-A7 Vulcan                                    $1,555.00                                      $0.00    11 U.S.C. § 522(d)(5)
      22000 miles
      Line from Schedule A/B: 3.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1980 Yamaha 850 Special 28131                                       $500.00                                     $0.00    11 U.S.C. § 522(d)(5)
      miles
      Line from Schedule A/B: 3.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      1983 Jaguar XJS6 135000 miles                                       $500.00                                     $0.00    11 U.S.C. § 522(d)(5)
      Line from Schedule A/B: 3.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 5
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 Debtor 1    David J. Angstadt                                                                           Case number (if known)     17-16003
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     1996 Ford F150 Long Bed 240000                                    $1,822.00                                      $0.00       11 U.S.C. § 522(d)(5)
     miles
     Custom paint (black/neon green),                                                      100% of fair market value, up to
     custom interrior, stereo                                                              any applicable statutory limit
     Line from Schedule A/B: 3.5

     1999 Dodge Dakota Extended Cab,                                     $600.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Short Bed 170000 miles
     no reverse, rotten bed                                                                100% of fair market value, up to
     Line from Schedule A/B: 3.6                                                           any applicable statutory limit

     1999 Isuzu Trooper 160000 miles                                     $600.00                                      $0.00       11 U.S.C. § 522(d)(5)
     *Vehicle paid for but title not yet
     transferred into Debtor's name*                                                       100% of fair market value, up to
     Line from Schedule A/B: 3.7                                                           any applicable statutory limit

     2001 Honda Civic 182000 miles                                     $1,200.00                                      $0.00       11 U.S.C. § 522(d)(5)
     needs a new transmission
     Line from Schedule A/B: 3.8                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     2003 Nissan Altima 145000 miles                                   $1,000.00                                      $0.00       11 U.S.C. § 522(d)(5)
     parts car, totaled in accident, needs
     exhaust                                                                               100% of fair market value, up to
     Line from Schedule A/B: 3.9                                                           any applicable statutory limit

     2013 Toyota Camry 31500 miles                                     $7,500.00                                 $3,775.00        11 U.S.C. § 522(d)(2)
     front end damage needs $3,000.00 in
     repairs.                                                                              100% of fair market value, up to
     KBB $13,184.00 in good condition -                                                    any applicable statutory limit
     $3,000.00 = $10,184.00 - current
     condition =$7,500.00 value
     Dents on doors, involved in multiple
     accidents, not driveable
     Line from Schedule A/B: 3.10

     2001 Ford Explorer 180480 miles                                     $500.00                                      $0.00       11 U.S.C. § 522(d)(5)
     *Vehicle paid for but title not yet
     transferred into Debtor's name*                                                       100% of fair market value, up to
     blown motor                                                                           any applicable statutory limit
     Line from Schedule A/B: 3.11

     2007 Ford Ranger 121000 miles                                     $2,500.00                                      $0.00       11 U.S.C. § 522(d)(5)
     *Vehicle paid for but title not yet
     transferred into Debtor's name*                                                       100% of fair market value, up to
     involved in an accident, needs                                                        any applicable statutory limit
     repairs
     Line from Schedule A/B: 3.12

     1996 Chevy drag racecar/power glide                               $6,000.00                                      $0.00       11 U.S.C. § 522(d)(5)
     200passes miles
     Line from Schedule A/B: 3.13                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     1989 Chevrolet Cheyenne C1500                                       $700.00                                      $0.00       11 U.S.C. § 522(d)(5)
     123000 miles
     broken exhaust pipe, fuel pump                                                        100% of fair market value, up to
     needs replaced, chipped paint                                                         any applicable statutory limit
     Line from Schedule A/B: 3.14


Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 5
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 Debtor 1    David J. Angstadt                                                                           Case number (if known)     17-16003
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     2001 Audi A4 399000 miles                                           $500.00                                      $0.00       11 U.S.C. § 522(d)(5)
     parts car
     Line from Schedule A/B: 3.15                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Living Room: couch, bookcase,                                       $499.75                                   $499.75        11 U.S.C. § 522(d)(3)
     recliners (2), end tables, coffee table,
     floor lamps (2), storage box, wooden                                                  100% of fair market value, up to
     rocking chair, wicker chest, milk                                                     any applicable statutory limit
     bottle, flower stands (2), umbrella
     stand, shelf, coat rack, wooden filing
     cabinet

     Dining room: kitchen table w
     Line from Schedule A/B: 6.1

     Computer, radio, TVs (21), Stereo                                   $232.00                                   $232.00        11 U.S.C. § 522(d)(3)
     sound bar, DVD Player (11),
     computer printer                                                                      100% of fair market value, up to
     Line from Schedule A/B: 7.1                                                           any applicable statutory limit

     wearing apparel usual items not                                   $4,000.00                                 $4,000.00        11 U.S.C. § 522(d)(3)
     worth $300.00 aggregate in value of
     $4,000.00                                                                             100% of fair market value, up to
     Line from Schedule A/B: 11.1                                                          any applicable statutory limit

     bracelet                                                             $25.00                                    $25.00        11 U.S.C. § 522(d)(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     dog                                                                    $0.00                                     $0.00       11 U.S.C. § 522(d)(3)
     Line from Schedule A/B: 13.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tools of Trade:                                                   $1,658.50                                 $1,658.50        11 U.S.C. § 522(d)(6)
     Craftsman metric set - 1/4 Drive
     Socket & Ratchet Sets & 3/8 drive                                                     100% of fair market value, up to
     socket & ratchet set & wrench set (2                                                  any applicable statutory limit
     each)
     Craftsman standard set - 1/4 Drive
     Socket & Ratchet Sets (2) & 3/8 drive
     socket & ratchet set & wrench set (2
     each)
     Large tool
     Line from Schedule A/B: 14.1

     Cash on hand                                                        $200.00                                   $100.00        11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 16.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Diamond Federal Credit                                  $1,471.07                                   $600.00        11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 5
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 Debtor 1    David J. Angstadt                                                                           Case number (if known)     17-16003
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Savings: Diamond Federal Credit                                        $5.00                                     $5.00       11 U.S.C. § 522(d)(5)
     Union
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Business Checking Account:                                          $995.00                                   $545.00        11 U.S.C. § 522(d)(5)
     Diamond Federal Credit Union
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Business Savings Account: Diamond                                      $5.00                                     $0.00       11 U.S.C. § 522(d)(5)
     Federal Credit Union
     Line from Schedule A/B: 17.4                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Life Insurance parents took out                                   $1,000.00                                 $1,000.00        11 U.S.C. § 522(d)(7)
     against him when he was a child
     Beneficiary: Mom/Dad                                                                  100% of fair market value, up to
     Line from Schedule A/B: 31.1                                                          any applicable statutory limit

     Leilani Sohoski, prior tenant owes                                $1,581.36                                      $0.00       11 U.S.C. § 522(d)(5)
     past due rent $675.00 + $906.36 for
     storage unit = $1,581.36                                                              100% of fair market value, up to
     Line from Schedule A/B: 38.1                                                          any applicable statutory limit

     Uncompleted projects                                                $450.00                                      $0.00       11 U.S.C. § 522(d)(5)
     Line from Schedule A/B: 38.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     9x11 sheets of sandpaper (32),                                      $396.99                                   $396.99        11 U.S.C. § 522(d)(6)
     various grits 40-3000
     body filler, fibergalss, plastics                                                     100% of fair market value, up to
     includes hardener catalyst (2)                                                        any applicable statutory limit
     sandpaper 5" round sandpaper,
     various grits 40-3000 (3 boxes/rolls)
     6" sandpaper round, various grits
     40-3000 (4 boxes/rolls)
     3" sandp
     Line from Schedule A/B: 40.1

     paint filters (1box)                                                $312.50                                   $312.50        11 U.S.C. § 522(d)(6)
     Latex golves (1box)
     tack clothes                                                                          100% of fair market value, up to
     Heavy Duty 0.4 stablizer tranmission                                                  any applicable statutory limit
     treatment (2)
     Quacter state Oil, 10w-30
     Supertech ATF transmission fluid
     PB blaster lubricant
     DOT3 Brake Fluid (2)
     Power steering fluid, Superted (2)
     Weldi
     Line from Schedule A/B: 40.2




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 5
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                                                                     Document      Page 19 of 43
 Debtor 1    David J. Angstadt                                                                  Case number (if known)    17-16003
 3. Are you claiming a homestead exemption of more than $160,375?
    (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 5 of 5
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                                                                     Document      Page 20 of 43
 Fill in this information to identify your case:

 Debtor 1                   David J. Angstadt
                            First Name                      Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Exeter Township                          Describe the property that secures the claim:                   $5,000.00             $138,000.00                     $0.00
         Creditor's Name                          1436 Phillip Avenue Birdsboro, PA
                                                  19508 Berks County
                                                  Joint with deceased mother, Marian
         Sewer                                    J. Angstadt, who passed away in
         P.O. Box 6188                            2013
                                                  As of the date you file, the claim is: Check all that
         Hermitage, PA                            apply.
         16148-0922                                   Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)   Sewer
       community debt

 Date debt was incurred                                    Last 4 digits of account number


         LSF9 Master
 2.2                                                                                                            $70,784.00              $138,000.00                     $0.00
         Participation Trust                      Describe the property that secures the claim:
         Creditor's Name                          1436 Phillip Avenue Birdsboro, PA
                                                  19508 Berks County
                                                  Joint with deceased mother, Marian
         c/o Caliber Home Loans,                  J. Angstadt, who passed away in
         Inc.                                     2013
                                                  As of the date you file, the claim is: Check all that
         13801 Wireless Way                       apply.
         Oklahoma City, OK 73134                      Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
                                                       car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit

Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
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 Debtor 1 David J. Angstadt                                                                                   Case number (if know)         17-16003
               First Name                  Middle Name                      Last Name


       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

                                 Opened
                                 10/03 Last
                                 Active
 Date debt was incurred          10/20/14                    Last 4 digits of account number         3303


         Pennsylvania American
 2.3                                                                                                                         $0.00             $138,000.00                  $0.00
         Water                                      Describe the property that secures the claim:
         Creditor's Name                            1436 Phillip Avenue Birdsboro, PA
                                                    19508 Berks County
                                                    Joint with deceased mother, Marian
                                                    J. Angstadt, who passed away in
         P.O. Box 371412                            2013
                                                    As of the date you file, the claim is: Check all that
         Pittsburgh, PA                             apply.
         15250-7412                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                          car loan)
    Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Water Bill
       community debt

 Date debt was incurred                                      Last 4 digits of account number



   Add the dollar value of your entries in Column A on this page. Write that number here:                                     $75,784.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                    $75,784.00

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.2
          Phelan Hallinan Diamond & Jones, LLP
          1617 JFK Blvd, Ste 1400                                                                     Last 4 digits of account number
          One Penn Center Plaza
          Philadelphia, PA 19103




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                                    page 2 of 2
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 Fill in this information to identify your case:

 Debtor 1                     David J. Angstadt
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                                           Check if this is an
                                                                                                                                                      amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim       Priority             Nonpriority
                                                                                                                                          amount               amount
 2.1          Berks County Adult Probation &                         Last 4 digits of account number       2013               $1,462.25         $1,462.25                   $0.00
              Priority Creditor's Name
              Parole Office                                          When was the debt incurred?           4/1/2014
              Berks County Services Center
              633 Court Street, 7th Floor
              Reading, PA 19601
              Number Street City State ZIp Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Restitution




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 6
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              Case 17-16003-ref                     Doc 12             Filed 09/19/17 Entered 09/19/17 11:13:57                                           Desc Main
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 Debtor 1 David J. Angstadt                                                                                  Case number (if know)           17-16003

 2.2        Internal Revenue Service                                 Last 4 digits of account number     2016                   $354.18                $354.18                   $0.00
            Priority Creditor's Name
            P.O. Box 7346                                            When was the debt incurred?         2016
            Philadelphia, PA 19101-7346
            Number Street City State ZIp Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
            No                                                          Other. Specify
            Yes                                                                            2016 Personal Income Tax

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        AJ Blosenski                                               Last 4 digits of account number        9500                                                           $116.00
            Nonpriority Creditor's Name
            1600 Chestnut Tree Road                                    When was the debt incurred?            Opened 03/17
            Honey Brook, PA 19344
            Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

                 Debtor 1 only                                             Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Trash Bill




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                   Page 2 of 6
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 Debtor 1 David J. Angstadt                                                                               Case number (if know)         17-16003

 4.2      Capital One Na                                             Last 4 digits of account number       5415                                                    $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 08/06 Last Active
          Po Box 30273                                               When was the debt incurred?           8/03/09
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Unsecured


 4.3      Capital One / Guitar                                       Last 4 digits of account number       5914                                                    $0.00
          Nonpriority Creditor's Name
          Attn: General                                                                                    Opened 03/08 Last Active
          Correspondence/Bankruptcy                                  When was the debt incurred?           2/16/09
          Po Box 30285
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Charge Account


 4.4      Capital One Bank USA NA                                    Last 4 digits of account number       7478                                              $8,637.00
          Nonpriority Creditor's Name
          P.O. Box 30281                                             When was the debt incurred?           Opened 08/11
          Salt Lake City, UT 84130
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit card purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 3 of 6
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 Debtor 1 David J. Angstadt                                                                               Case number (if know)         17-16003

 4.5      Chase Card                                                 Last 4 digits of account number       5157                                                    $0.00
          Nonpriority Creditor's Name
                                                                                                           Opened 03/99 Last Active
          Po Box 15298                                               When was the debt incurred?           11/09/10
          Wilmington, DE 19850
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit Card


 4.6      Leilani Sohoski                                            Last 4 digits of account number                                                               $0.00
          Nonpriority Creditor's Name
          153 A Mountain View Road                                   When was the debt incurred?
          Reading, PA 19607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Potential Liability


 4.7      Route 625 Storage, LLC                                     Last 4 digits of account number       2138                                                $906.36
          Nonpriority Creditor's Name
          824 New Holland Road                                       When was the debt incurred?           5/24/16-8/19/2017
          Reading, PA 19607
          Number Street City State ZIp Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Storage Unit Lease
              Yes                                                       Other. Specify   Unit: B404




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 4 of 6
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 Debtor 1 David J. Angstadt                                                                               Case number (if know)         17-16003

 4.8       Santander Bank Na                                         Last 4 digits of account number       2721                                              $1,164.20
           Nonpriority Creditor's Name
                                                                                                           Opened 08/10 Last Active
           865 Brook St                                              When was the debt incurred?           11/14/11
           Rocky Hill, CT 06067
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Check Credit Or Line Of Credit
                                                                                         Joint with deceased mother, Marian J.
              Yes                                                       Other. Specify   Angstadt, who passed away in 2013


 4.9       Wells Fargo Hm Mortgag                                    Last 4 digits of account number       9778                                              Unknown
           Nonpriority Creditor's Name
                                                                                                           Opened 10/03 Last Active
           8480 Stagecoach Cir                                       When was the debt incurred?           6/26/14
           Frederick, MD 21701
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Real Estate Mortgage


 4.1
 0         Windstrem                                                 Last 4 digits of account number       6738                                                $225.00
           Nonpriority Creditor's Name
           P.O. Box 9001908                                          When was the debt incurred?           Opened 06/15
           Louisville, KY 40290-1908
           Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Utility Bill

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 5 of 6
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 Debtor 1 David J. Angstadt                                                                               Case number (if know)          17-16003

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Collection Specialists                                        Line 4.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 335 Gordon Dr                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 Exton, PA 19341
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Portfolio Recovery                                            Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Po Box 41067                                                                                             Part 2: Creditors with Nonpriority Unsecured Claims
 Norfolk, VA 23541
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Southwest Credit Systems                                      Line 4.10 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 4120 International Parkway Ste 1100                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Carrollton, TX 75007
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                     1,816.43
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                         0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                         0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     1,816.43

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                    11,048.56

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                    11,048.56




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 6 of 6
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                                                                      Document      Page 28 of 43
 Fill in this information to identify your case:

 Debtor 1                  David J. Angstadt
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       Scott & Christina Kretzer                                                  week to week rental of 1 bedroom, kitchen, bathroom
               1436 Phillip Avenue                                                        (shared), living room & decks outside
               Birdsboro, PA 19508




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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                                                                         Document      Page 29 of 43
 Fill in this information to identify your case:

 Debtor 1                   David J. Angstadt
                            First Name                            Middle Name         Last Name

 Debtor 2
 (Spouse if, filing)        First Name                            Middle Name         Last Name


 United States Bankruptcy Court for the:                 EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                     Check if this is an
                                                                                                                                amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                      12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                               Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                        Check all schedules that apply:

    3.1                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




    3.2                                                                                                 Schedule D, line
                Name
                                                                                                        Schedule E/F, line
                                                                                                        Schedule G, line
                Number             Street
                City                                      State                        ZIP Code




Official Form 106H                                                                Schedule H: Your Codebtors                                 Page 1 of 1
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Fill in this information to identify your case:

Debtor 1                      David J. Angstadt

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF PENNSYLVANIA

Case number               17-16003                                                                       Check if this is:
(If known)
                                                                                                             An amended filing
                                                                                                             A supplement showing postpetition chapter
                                                                                                             13 income as of the following date:

Official Form 106I                                                                                           MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                     Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                     Employed
       attach a separate page with           Employment status
                                                                      Not employed                                 Not employed
       information about additional
       employers.
                                             Occupation            Self Employed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                       For Debtor 1          For Debtor 2 or
                                                                                                                             non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.     $              0.00       $             N/A

3.     Estimate and list monthly overtime pay.                                              3.    +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.     $           0.00              $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
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Debtor 1    David J. Angstadt                                                                     Case number (if known)    17-16003


                                                                                                      For Debtor 1            For Debtor 2 or
                                                                                                                              non-filing spouse
      Copy line 4 here                                                                     4.         $              0.00     $             N/A

5.    List all payroll deductions:
      5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $               N/A
      5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $               N/A
      5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $               N/A
      5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $               N/A
      5e.    Insurance                                                                     5e.        $              0.00     $               N/A
      5f.    Domestic support obligations                                                  5f.        $              0.00     $               N/A
      5g.    Union dues                                                                    5g.        $              0.00     $               N/A
      5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $               N/A
6.    Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               N/A
7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               N/A
8.    List all other income regularly received:
      8a. Net income from rental property and from operating a business,
             profession, or farm
             Attach a statement for each property and business showing gross
             receipts, ordinary and necessary business expenses, and the total
             monthly net income.                                                           8a.        $      3,009.50         $               N/A
      8b. Interest and dividends                                                           8b.        $          0.00         $               N/A
      8c. Family support payments that you, a non-filing spouse, or a dependent
             regularly receive
             Include alimony, spousal support, child support, maintenance, divorce
             settlement, and property settlement.                                          8c.        $              0.00     $               N/A
      8d. Unemployment compensation                                                        8d.        $              0.00     $               N/A
      8e. Social Security                                                                  8e.        $              0.00     $               N/A
      8f.    Other government assistance that you regularly receive
             Include cash assistance and the value (if known) of any non-cash assistance
             that you receive, such as food stamps (benefits under the Supplemental
             Nutrition Assistance Program) or housing subsidies.
             Specify:                                                                      8f.  $                    0.00   $                 N/A
      8g. Pension or retirement income                                                     8g. $                     0.00   $                 N/A
      8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $                 N/A

9.    Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          3,009.50         $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                     10. $              3,009.50 + $             N/A = $          3,009.50
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                         12.   $         3,009.50
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
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Fill in this information to identify your case:

Debtor 1                 David J. Angstadt                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                       A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF PENNSYLVANIA                                           MM / DD / YYYY

Case number           17-16003
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                      No
      dependents names.                                                                                                                     Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
                                                                                                                                            No
                                                                                                                                            Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                       Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             501.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                             0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            66.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             0.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                             0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                             0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
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Debtor 1     David J. Angstadt                                                                         Case number (if known)      17-16003

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 170.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 105.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  60.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                200.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                   0.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   95.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet Care                                                            21. +$                                                 55.00
      Cigarettes                                                                                  +$                                               100.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       1,652.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       1,652.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               3,009.50
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              1,652.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,357.50

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 Fill in this information to identify your case:

 Debtor 1                    David J. Angstadt
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number              17-16003
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ David J. Angstadt                                                     X
              David J. Angstadt                                                         Signature of Debtor 2
              Signature of Debtor 1

              Date       September 19, 2017                                             Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

 Debtor 1                  David J. Angstadt
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              EASTERN DISTRICT OF PENNSYLVANIA

 Case number           17-16003
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $16,200.00           Wages, commissions,
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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 Debtor 1      David J. Angstadt                                                                           Case number (if known)   17-16003


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                       $15,502.00           Wages, commissions,
 (January 1 to December 31, 2016 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


                                                      Wages, commissions,                           $600.00          Wages, commissions,
                                                   bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                         $2,415.00          Wages, commissions,
 (January 1 to December 31, 2015 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 For the calendar year before that:                Cancellation of Debt                           $1,164.00
 (January 1 to December 31, 2015 )


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                 individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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 Debtor 1      David J. Angstadt                                                                           Case number (if known)    17-16003


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       LFSF9 Master Participation Trust                          Civil - Mortgage           Berks County Court of                       Pending
       vs David J. Angstadt                                      Foreclosure                Common Pleas                                On appeal
       15-1409                                                                              633 Court Street
                                                                                                                                        Concluded
                                                                                            Reading, PA 19601
                                                                                                                                     Sheriff's Sale Scheduled for
                                                                                                                                     9/8/17

       Commonwealth of Pennsylvania                              Criminal                   Court of Common Pleas of                    Pending
       vs. David John Angstadt                                                              Lebanon County                              On appeal
       CP-38-CR-0000230-2017                                                                400 S. 8th Street
                                                                                                                                        Concluded
                                                                                            Lebanon, PA 17042
                                                                                                                                     awaiting hearing and
                                                                                                                                     verdict


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened
       Route 625 Storage, LLC                                    Storage Unit Lease                                           8/19/17                        $906.36
       824 New Holland Road                                      Unit: B404
       Reading, PA 19607
                                                                     Property was repossessed.
                                                                     Property was foreclosed.
                                                                     Property was garnished.

                                                                     Property was attached, seized or levied.


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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 Debtor 1      David J. Angstadt                                                                           Case number (if known)    17-16003



11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was             Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                     Describe the gifts                                      Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                 Describe what you contributed                           Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment             Amount of
       Address                                                        transferred                                             or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Lau & Associates, P.C.                                         $1,100.00 Attorney Fees + $310.00                       August 2017              $1,410.00
       4228 St. Lawrence Avenue                                       Court Filing Fee
       Reading, PA 19606
       Shawn_Lau@msn.com




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       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       CCAdvising                                                     Credit Counseling Certificate                           August 31,                      $9.76
                                                                                                                              2017
       CCAdvising.com


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                            Description and value of any property                   Date payment              Amount of
       Address                                                        transferred                                             or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                   Description and value of                  Describe any property or        Date transfer was
       Address                                                        property transferred                      payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Quinby Whitehawk                                               2003 Ford Taurus $1300.00                                                 February/March
       NA                                                                                                                                       2017

       NA - Craigslist Ad

       NA - Craigslist Ad                                             1999 Chevy Cavalier                                                       August/Septem
                                                                      $150.00                                                                   ber 2016

       NA - Craigslist Ad


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                  Description and value of the property transferred                         Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred




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       Name of Financial Institution and                         Last 4 digits of              Type of account or       Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number                instrument               closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred
       Diamond Federal Credit Union                              XXXX-7S33                         Checking             4/30/17 funds                         $0.00
       1600 Medical Drive                                                                          Savings
                                                                                                                        were transfered
       Pottstown, PA 19464                                                                                              to new bank
                                                                                                   Money Market
                                                                                                                        account since
                                                                                                   Brokerage
                                                                                                                        there was fraud
                                                                                                   Other                activity


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                  Who else had access to it?             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City,                                             have it?
                                                                      State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                       Who else has or had access             Describe the contents               Do you still
       Address (Number, Street, City, State and ZIP Code)             to it?                                                                     have it?
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

       Route 625 Storage                                              Leilani Sohoski                        Leilani Sohoski's personal             No
       824 New Holland Road                                                                                  household items. Only her              Yes
       Reading, PA 19607                                                                                     items were stored in this unit.
                                                                                                             Debtor's name was on the
                                                                                                             lease.


 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                   Where is the property?                 Describe the property                            Value
       Address (Number, Street, City, State and ZIP Code)             (Number, Street, City, State and ZIP
                                                                      Code)

 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




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24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                   Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)             Address (Number, Street, City, State and      know it
                                                                      ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                     Court or agency                            Nature of the case                   Status of the
       Case Number                                                    Name                                                                            case
                                                                      Address (Number, Street, City,
                                                                      State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business                  Employer Identification number
       Address                                                                                                        Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                      Dates business existed
       DJA Home & Auto Services                                  Auto Repair, Mechanical and Auto                     EIN:       XX-XXXXXXX
       1436 Phillip Avenue                                       Body
       Birdsboro, PA 19508-8812                                                                                       From-To    September 2015-present
                                                                 Elizabeth DeLessio - DeLessio
                                                                 Accounting
                                                                 Jessica Smith - returns
                                                                 2015-present


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                      Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers

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are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ David J. Angstadt
 David J. Angstadt                                                       Signature of Debtor 2
 Signature of Debtor 1

 Date     September 19, 2017                                             Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




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                                                               United States Bankruptcy Court
                                                                     Eastern District of Pennsylvania
 In re      David J. Angstadt                                                                                      Case No.      17-16003
                                                                                   Debtor(s)                       Chapter       13


                                                   BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS                                (NOTE: ONLY INCLUDE information directly related to the business operation.)

PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                       $            15,502.00
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                      $                2,700.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                          $                   0.00
          4. Payroll Taxes                                                                                                         0.00
          5. Unemployment Taxes                                                                                                    0.00
          6. Worker's Compensation                                                                                                 0.00
          7. Other Taxes                                                                                                           0.00
          8. Inventory Purchases (Including raw materials)                                                                      500.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                                0.00
          10. Rent (Other than debtor's principal residence)                                                                       0.00
          11. Utilities                                                                                                            0.00
          12. Office Expenses and Supplies                                                                                         0.00
          13. Repairs and Maintenance                                                                                              0.00
          14. Vehicle Expenses                                                                                                  272.50
          15. Travel and Entertainment                                                                                             0.00
          16. Equipment Rental and Leases                                                                                          0.00
          17. Legal/Accounting/Other Professional Fees                                                                             0.00
          18. Insurance                                                                                                            0.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                                     0.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                  DESCRIPTION                                                                       TOTAL

          21. Other (Specify):

                  DESCRIPTION                                                                       TOTAL

          22. Total Monthly Expenses (Add items 3-21)                                                                                  $                  772.50
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                                $                1,927.50




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